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       ORDERED in the Southern District of Florida on August 03, 2011.



                                                                   Robert A. Mark, Judge
                                                              United States Bankruptcy Court
_____________________________________________________________________________



                              UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION


                                                )
        In re:                                  )        Case No. 10-26989-BKC-RAM
                                                )
        HARVEY HERNANDEZ,                       )        Chapter 7
                                                )
                 Debtor.                        )
                                                )
                                                )
        BRIARROSE INVEST, LTD.,                 )
                                                )
                 Plaintiff,                     )
                                                )
        vs.                                     )        Adv. No.11-02014-BKC-RAM-A
                                                )
        HARVEY HERNANDEZ,                       )
                                                )
                 Defendant.                     )
                                                )
                                                )
        SONEET KAPILA, Chapter 7 Trustee for    )
        the Estate of Harvey Hernandez,         )
                                                )
                 Plaintiff,                     )
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                                                    )        Adv. No. 11-02015-BKC-RAM-A
 vs.                                                )
                                                    )
 HARVEY HERNANDEZ,                                  )
                                                    )
         Defendant.                                 )
                                                    )
                                                    )

              ORDER (1) CONSOLIDATING ADVERSARY PROCEEDINGS,
            (2) ABATING § 523 COUNT, (3) EXTENDING THE TIME TO FILE
             AN ANSWER, AND (4) CONTINUING PRETRIAL CONFERENCE

       On July 28, 2011, the Court conducted pretrial conferences in both of the above-captioned

adversary proceedings. The Court decided to consolidate the trials of these adversary proceedings

as to the 11 U.S.C. § 727 counts alleged in each complaint. Based on such consolidation, the

Defendant acknowledged service of the summons and a copy of the complaint in Kapila v.

Hernandez, Adv. No. 11-02015 (the “Trustee Adversary”) and agreed to file an answer to that

complaint. Therefore, and for the additional reasons stated on the record at the pretrial conferences,

which are incorporated here by reference, it is –

       ORDERED as follows:

       1.      All counts of the Trustee Adversary, and Counts I through and including V (together,

“the 11 U.S.C. § 727 Counts”) of Briarrose Invest, Ltd. v. Hernandez, Adv. No. 11-02014 (the

“Briarrose Adversary”), shall be consolidated for trial.

       2.      Count VI, the 11 U.S.C. § 523(a)(2)(B) count, of the Briarrose Adversary is abated

pending conclusion of the consolidated trial of the Trustee Adversary and of the 11 U.S.C. § 727

Counts of the Briarrose Adversary. If any of the Plaintiffs prevail at the consolidated trial, Count

VI of the Briarrose Adversary will be moot. If none of the Plaintiffs prevail at the consolidated trial,

the Court will reschedule a pretrial conference in the Briarrose Adversary to address Count VI of the

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Briarrose Adversary.

       3.      Discovery in the Briarrose Adversary and in the Trustee Adversary shall be

consolidated such that discovery requests made in the Briarrose Adversary are deemed discovery

requests made in the Trustee Adversary, and discovery responses submitted in the Briarrose

Adversary are deemed discovery responses submitted in the Trustee Adversary. The parties are

directed to avoid redundancy in their discovery requests.

       4.      Any paper served in either the Briarrose Adversary or the Trustee Adversary must be

served on (i) counsel for Plaintiff Briarrose Invest, Ltd., (ii) counsel for Plaintiff Soneet Kapila,

Chapter 7 Trustee, and (iii) James B. Miller, Esq., counsel for the Defendant.

       5.      By August 29, 2011, the Defendant shall file an answer to the complaint in both the

Briarrose Adversary and the Trustee Adversary.

       6.      The pretrial conference in the above-captioned adversary proceedings is continued

to November 3, 2011 at 10:30 a.m.. The pretrial conference will be conducted at the U.S.

Bankruptcy Court, 51 S.W. 1st Ave., Courtroom 1406, Miami, Florida 33130.

       7.      The trial date will be set at the pretrial conference.

       8.      The parties shall comply with the requirements set forth in the initial Order Setting

Filing and Disclosure Requirements for Pretrial and Trial. The time deadlines in the Order, as they

relate to the pretrial conference, shall refer to the rescheduled date.

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Copies Furnished To:

James B. Miller, Esq.

Ileana Espinosa Christianson, Esq.


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Daniel N. Gonzalez, Esq.




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